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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )       4:22 CR 3077
                                                      )
               vs.                                    )
                                                      )       ORDER FOR RULE 17(c)
NEIL SURESH CHANDRAN,                                 )       SUBPOENA
                                                      )
                       Defendant.                     )

                               ORDER FOR RULE 17(c) SUBPOENA

         This matter came before the Court on the motion of the United States requesting

authorization for the issuance of a subpoena under Rule 17(c) of the Federal Rules of Criminal

Procedure. The Court finds that the request is reasonable in that it seeks known evidentiary

records, the production of which in advance of trial will enable both parties to more fully prepare

for trial.

         IT IS THEREFORE ORDERED: that the Government’s motion is granted. The United

States shall issue a subpoena duces tecum to Intuit, Inc.

         IT IS FURTHER ORDERED: that the documents may be produced at the offices of the

United States Department of Justice, Criminal Division, Fraud Section provided that the United

States makes such records immediately available to the defendant.

         DATED this                 day of September, 2022.

                                                      ___________________________________
                                                      CHERYL R. ZWART
                                                      United States Magistrate Judge
